Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 1 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 2 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 3 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 4 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 5 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 6 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 7 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 8 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                          Document     Page 9 of 10
Case 14-40453   Doc 1   Filed 11/07/14 Entered 11/07/14 12:11:16   Desc Main
                         Document     Page 10 of 10
